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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :      CASE NO.:
                                              :
               v.                             :      MAGISTRATE NO.: 23-mj-42
                                              :
MICHAEL DANIELE,                              :      VIOLATIONS:
                                              :
              Defendant.                      :      18 U.S.C. § 231(a)(3)
                                              :      (Civil Disorder)

                                     INFORMATION

       The United States Attorney charges that at all relevant times:

                                          COUNT ONE

       On or about January 6, 2021, within the District of Columbia, MICHAEL DANIELE,

committed and attempted to commit an act to obstruct, impede, and interfere with law enforcement

officers, that is, officers from the United States Capitol Police, lawfully engaged in the lawful

performance of their official duties incident to and during the commission of a civil disorder which

in any way and degree obstructed, delayed, and adversely affected commerce and the movement
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       of any article and commodity in commerce and the conduct and performance of any

federally protected function.

       (Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))


                                                    Respectfully submitted,

                                                    MATTHEW M. GRAVES
                                                    United States Attorney
                                                    D.C. Bar No. 481052

                                            By:     /s/ Sarah C. Martin
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